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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA               FILED

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                                                                 8 y _ Dep_ eler!<



Richard Jaeger

          v.                                   NO.   11-1612

NCO Financial Systems, Inc.




                                    JUDGMENT


BEFORE Savage, J.

          AND NOW, to wit, this 10th day of May, 2011,

it is ORDERED that in accordance with NCO Financial Systems, Inc. 's

offer of judgment and plaintiffs acceptance pursuant to

F.R.C.P. 68.     It is

          ORDERED that judgment is entered in favor of plaintiff

and against NCO Financial Systems, Inc. in the amount of $1,000.00

together with interest and costs.
                                 BY THE COURT:




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judg
